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                               Exhibit 9
        State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                          Abbott Laboratories, Inc., et al.

             Exhibit to the Declaration of Nicholas N. Paul in Support of
 Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

 In re: PHARMACEUTICAL INDUSTRY                        )
 AVERAGE WHOLESALE PRICE                               )
 LITIGATION                                            )
                                                       )
                                                       )   MDL No. 1456
 THIS DOCUMENT RELATES TO:                             )   Civil Action No. 01-12257-PBS
                                                       )   Subcategory Case No. 03-10643-PBS
 City of New York, et al.                              )
                                                       )   Hon. Patti B. Saris
 v.                                                    )
                                                       )
 Abbott Laboratories, et al.                           )


                            DECLARATION OF SUSAN E. GASTON

       I, Susan E. Gaston, declare as follows:

       1.      I held the position of lead analyst for the Federal Upper Limits (FUL) program in

the Division of Pharmacy within the Center for Medicaid and State Operations (CMSO) of the

Centers for Medicare & Medicaid Services (CMS) from April 1991 to February 2003. The

Division of Pharmacy is the CMS group responsible setting and publishing the Federal Upper

Limits (FULs) for certain drugs which are reimbursed by Medicaid. Currently, I am Team Lead

for Dispute Resolution Program of the Medicaid Drug Rebate Program and have held that

position since February 2003. The statements made in this declaration are based on my personal

knowledge.

       2.      Since 1987, CMS has administered regulations that limit the amount which

Medicaid will reimburse for drugs with available generic drugs under the Federal Upper Limit




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(FUL) Program. 42 C.F.R. § 447.332.1 According to the CMS website, “These limits are

intended to assure that the Federal government acts as a prudent buyer of drugs. The concept of

the upper limits program is to achieve savings by taking advantage of the current market

prices.”2 Under current law, CMS will establish a FUL for a drug for which the Food and Drug

Administration (FDA) has rated three or more products therapeutically and pharmaceutically

equivalent, regardless of whether all such formulations are rated as such, as reflected in the

FDA's publication, Approved Drug Products With Therapeutic Equivalence Evaluations

(commonly referred to as the "Orange Book."). In addition, at least three suppliers must list the

drug in the current editions of published national compendia.

       3.       Among my responsibilities as lead analyst for the FUL program was the setting of

FULs. My general practice in establishing FULs was that, once I established that there were

three suppliers for the drug, I set the FUL at 150 percent of the lowest published price, i.e., the

Average Wholesale Price (AWP), Wholesale Acquisition Cost (WAC) or Direct Price (DP) of

the therapeutically and pharmaceutically equivalent drug. Part of my general practice was to use

a WAC price that was published in one or more of the national compendia (First DataBank,



       1
          On July 15, 2008, the Medicare Improvements for Patients and Providers Act of 2008
(MIPPA), Public Law 110-275, was enacted. As a result of this legislation, CMS is prohibited
from taking any action, prior to October 1, 2009, to impose FULs for multiple source drugs
established under 42 CFR 447.514(b) as published in the final rule on July 17, 2007. In
accordance with the law, the specific upper limit under 42 C.F.R. § 447.332 (as in effect on
December 31, 2006) applicable to payments for multiple source drugs shall continue to apply
through September 30, 2009, for purposes of Federal financial participation. Accordingly, CMS
resumed publishing the FULs for multiple source drugs, using the methodology in 42 C.F.R.
§ 447.332 as in effect on December 31, 2006.

       2
            http://www.cms.hhs.gov/Reimbursement/05_FederalUpperLimits.asp


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Medi-Span, Red Book) to set a FUL. AWPs were always greater than the corresponding WAC,

and therefore to achieve the objective of the program I did not use them.

       4.      If the lowest published WAC appeared to be an outlier, i.e., significantly lower

than the next available WAC, my practice was to contact the manufacturer to find out if the EAC

was still valid and whether the drug was nationally available in the market. If my investigation

revealed that the price was not valid, I requested a valid price from the manufacturer. If I

obtained a valid WAC (whether in writing or orally), and if I learned that the product was widely

available at that price, I would consider that price; otherwise not. If I learned that the product

was not nationally available at the published price, I generally did not consider that price.

       5.      Once I reduced my list of candidate prices as indicated above, I then selected

which published price to consider in setting the FUL. If the lowest WAC resulted in a FUL that

was higher than at least three published WACs (including the WAC used to calculate the FUL), I

would use that WAC to set the FUL. However, if the resulting FUL was not higher than at least

three published WACs, I might use the next higher WAC. To the extent I exercised this

discretion when setting a FUL, I did so in order to ensure access while also achieving cost

savings for the Medicaid program as required by 42 C.F.R. § 447.332.

       6.      During the time period in which I was responsible for setting FULs, I did not have

access to, and therefore did not use, prices other than those listed in national compendia – except

in the relatively uncommon situation described in paragraph 4 above. I did not have access to,

and therefore did not know, actual transaction prices paid by wholesalers to manufacturers for

prescription drugs. Although CMS received Average Manufacturer Prices (AMPs) from

manufacturers for the sole purpose of use in the Medicaid Drug Rebate Program, I understood

that AMPs were confidential, could not be used for reimbursement purposes; and in any event

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AMPs were not prices published in the national compendia and by law could not be used for

setting FULs. Therefore, I did not use or consider AMPs to set FULs.

       7.      Had drug manufacturers supplied lower WACs to the publishing compendia, I

would have considered those WACs in the context of setting the FUL so long as those WACs

were reasonably within the range of the other WACs (i.e., not outliers).

       8.      Attached as Exhibit A hereto is a true and complete copy of the 2001 FULs

printout for metroprolol tartrate that was marked as Exhibit 002 to my deposition taken on

March 19, 2008. This exhibit shows that a FUL of $0.0914 was set based on a WAC of $0.0609.

       9.      Attached as Exhibit B hereto is a document that I am told is a copy of Exhibit A

with the addition of alternative WACs calculated by plaintiffs' expert, Mr. Harris Devor, C.P.A.,

for Teva Pharmaceuticals USA, Inc., Geneva Pharmaceuticals, Inc., Watson Pharmaceuticals,

and Mylan Pharmaceuticals, Inc. I understand that these alternative WACs appear in the first

four rows of the document.

       10.     If, at the time I set the FUL for metroprolol tartrate in 2001, one or more of the

national compendia had published the four alternative WAC prices shown in the first four rows

of prices in Exhibit B, instead of the WAC prices shown elsewhere in the exhibit for the same

NDCs, I would have considered all of them and would have used one of them to set the FUL,

provided I was able to determine that the price was valid and the product was widely available in

the marketplace as described above. Any one of the four alternative WACs would have resulted

in a FUL lower than the $0.0914 FUL that was established. In all likelihood, had the four

alternative WACs appeared in the FULS printout, I would have used the third lowest WAC

($0.04479) (Mylan) because the resulting FUL would have been $0.0672 (1.5 x 0.04479), which

is higher than at least three WACs and is therefore a reasonable FUL.

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       11.     Attached as Exhibit C hereto is a document that I am told is a copy of Exhibit A

with the addition of different alternative WACs, identified with asterisks, for products of Teva

Pharmaceuticals USA, Inc., Geneva Pharmaceuticals, Inc., Watson Pharmaceuticals, and Mylan

Pharmaceuticals, Inc.

       12.     If, at the time I set the FUL for metroprolol tartrate in 2001, one or more of the

national compendia had published the four alternative WAC prices marked with asterisks in

Exhibit C, instead of the WAC prices shown elsewhere in the exhibit for the same NDCs, I

would have considered these alternative WACs and would have used one of them to set the FUL

provided I was able to determine that the price was valid and the product was widely available in

the marketplace. Any one of the four alternative WACs would have resulted in a FUL lower

than the $0.0914 FUL that was established. In all likelihood, however, I would have used the

second-lowest alternative WAC ($0.02971) (Mylan), because the FUL would have then been

$0.0446 (1.5 x 0.02971) , which would have been higher than three published WACs and

therefore would have been a reasonable FUL.

       13.     Attached as Exhibit D hereto is a true and complete copy of the 2001 FULs

printout for cefadroxil that was marked as Exhibit 007 to my deposition taken on March

19, 2008. The exhibit indicates that on or about July 25, 2001, the FUL for

Cefadroxil/Cefadroxil Hemihydrate was deleted because, at $1.2749, it was considered

too low when compared to the published WACs.

       14.     Attached as Exhibit E hereto is what I am told is a copy of Exhibit D with

the addition of alternative WACs for Cefadroxil/Cefadroxil Hemihydrate calculated by




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plaintiffs' expert, Mr. Harris Devor, C.P.A., for Barr Laboratories, Inc. and Zenith

Laboratories, Inc.

       15.     If, at the time a FUL for Cefadroxil/Cefadroxil Hemihydrate was considered in

July 2001, one or more of the national compendia had published the two alternative WAC prices

shown in the first two rows of prices in Exhibit E, instead of the WAC prices shown elsewhere

in the exhibit for the same NDCs, I would have considered them in determining where to set a

FUL. Thereafter, I likely would have used the lowest WAC on the list to set the FUL provided I

was able to determine that the price was valid and the product was widely available in the

marketplace. Had I used the lowest WAC on the list ($0.84990) (Major Pharmaceuticals) to set

a new FUL for this drug, the resulting FUL would have been $1.275 (1.5 x 0.84990), which

would have been higher than at least three WACs, and therefore reasonable. Although I did

not personally make the determination to delete the FUL in July 2001, I know that the

CMS employee who did (Cindy Bergin), followed the same practice that I did, and for

that reason I believe she would have set a new FUL using the $0.84990 Major

Pharmaceuticals WAC.

       16.     Attached as Exhibit F hereto is what I am told is a copy of Exhibit D with

the addition of a different set of alternative WACs for Barr Laboratories, Inc. and Zenith

Laboratories, Inc. The alternative WACs have been marked with an asterisk, and,

according to the document, are AMP prices supplied by defendants.

       17.     If, at the time a FUL for Cefadroxil/Cefadroxil Hemihydrate was considered in

July 2001, one or more of the national compendia had published the two alternative WAC prices


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08/21/2001
                                       Federal Upper Limit System
Product Group: 1067                           Package Size: 100
Strengths: 100MG                              Dosage: TABLET
Routes: ORAL                                  Exclusion Code:
Ingredients: METOPROLOL TARTRATE

Excl Direct                            SRCE                                                          MDRI
CD Price          AWP        WAC        CD        NDC Number        Company Name                     Date

      0.00000                0.02324    H       00781/1228/01       GENEVA PHARMACEUTICALS, INC.,
      0.00000                0.04479    H       00378/0047/01       MYLAN PHARMACEUTICALS, INC.
      0.00000                0.05557    H       00093/0734/01       TEVA PHARMACEUTICALS USA, INC.
      0.00000                0.02720    H       52544/0463/01       WATSON PHARMACEUTICALS
      0.00000     0.65400    0.00000    M       00904/7947/60       MAJOR PHARMACEUTICALS
      0.00000     0.65400    0.00000    M       00904/7773/60       MAJOR PHARMACEUTICALS
      0.00000     0.65400    0.06180    B       00904/7947/60       MAJOR PHARMACEUTICALS
      0.00000     0.65400    0.06180    R       00904/7947/60       MAJOR PHARMACEUTICALS
      0.00000     0.65400    0.18480    R       00904/7773/60       MAJOR PHARMACEUTICALS
      0.00000     0.65400    0.21110    B       00904/7773/60       MAJOR PHARMACEUTICALS
      0.00000     0.67410    0.00000    B       55370/0821/07       MOVA LABORATORIES INC.
      0.00000     0.67860    0.00000    B       00603/4628/21       QUALITEST PRODUCTS, INC.
      0.00000     0.67860    0.00000    M       00603/4628/21       QUALITEST PRODUCTS, INC.
      0.00000     0.67860    0.00000    R       00603/4628/21       QUALITEST PRODUCTS, INC.
      0.00000     0.69750    0.00000    M       00093/0734/01       TEVA PHARMACEUTICALS USA, INC.
      0.00000     0.69750    0.00000    R       00093/0734/01       TEVA PHARMACEUTICALS USA, INC.
      0.00000     0.73850    0.00000    B       64376/0503/01       BOCA PHARMACAL, INC.
      0.00000     0.73850    0.00000    M       57664/0167/08       CARACO PHARMACEUTICAL LABORATO
      0.00000     0.73850    0.00000    M       64376/0503/01       BOCA PHARMACAL, INC.
T     0.00000     0.73850    0.05690    B       57664/0167/08       CARACO PHARMACEUTICAL LABORATO
T     0.00000     0.73850    0.05690    R       57664/0167/08       CARACO PHARMACEUTICAL LABORATO
      0.00000     0.73990    0.00000    M       00781/1228/01       GENEVA PHARMACEUTICALS, INC.,
T     0.00000     0.73990    0.05440    R       00781/1228/01       GENEVA PHARMACEUTICALS, INC.,
      0.00000     0.76300    0.00000    M       00677/1483/01       UNITED RESEARCH LABORATORIES
T     0.00000     0.76300    0.00000    M       53489/0367/01       MUTUAL PHARMACEUTICAL COMPANY
T     0.00000     0.76300    0.06090    B       53489/0367/01       MUTUAL PHARMACEUTICAL COMPANY
T     0.00000     0.76300    0.06090    R       00677/1483/01       UNITED RESEARCH LABORATORIES
      0.00000     0.76300    0.06090    R       53489/0367/01       MUTUAL PHARMACEUTICAL COMPANY
      0.00000     0.76300    0.08600    B       00677/1483/01       UNITED RESEARCH LABORATORIES
      0.00000     0.80100    0.00000    B       52544/0463/01       WATSON PHARMACEUTICALS
      0.00000     0.80100    0.00000    M       00378/0047/01       MYLAN PHARMACEUTICALS, INC.
      0.00000     0.80100    0.00000    M       52544/0463/01       WATSON PHARMACEUTICALS
      0.00000     0.80100    0.00000    R       00378/0047/01       MYLAN PHARMACEUTICALS, INC.
      0.00000     0.80100    0.00000    R       52544/0463/01       WATSON PHARMACEUTICALS
T     0.00000     0.80100    0.07250    B       00378/0047/01       MYLAN PHARMACEUTICALS, INC.
      0.00000     0.94280    0.00000    M       00186/1092/05       ASTRA PHARMACEUTICALS L.P.
      0.00000     0.94280    0.78570    R       00186/1092/05       ASTRA PHARMACEUTICALS L.P.
      0.00000     0.94284    0.78570    B       00186/1092/05       ASTRA PHARMACEUTICALS L.P.
      0.00000     1.15260    0.00000    M       00028/0071/01       NOVARTIS PHARMACEUTICALS
      0.00000     1.15260    0.96050    B       00028/0071/01       NOVARTIS PHARMACEUTICALS
      0.00000     1.15260    0.96050    R       00028/0071/01       NOVARTIS PHARMACEUTICALS
T     0.06520     0.73990    0.05440    B       00781/1228/01       GENEVA PHARMACEUTICALS, INC.,
      0.10500     0.69750    0.09880    B       00093/0734/01       TEVA PHARMACEUTICALS USA, INC.
      0.55070     0.65400    0.00000    M       59772/3693/02       APOTHECON INC
      0.55070     0.65400    0.52320    B       59772/3693/02       APOTHECON INC
      0.55070     0.65400    0.52320    R       59772/3693/02       APOTHECON INC

FULs Price: .0349                             Prior FULs Price: .1290
Percent Difference: ‐36.74                    Source Code: H
High Price: 1.15260                           Low Price: .02324
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*Source Code "H" indicates the WAC calculated by Harris L. Devor, C.P.A., in his Rule 26 Statement, dated September 30, 2008, Exh. A to Devor's Dec.
 [Docket No. 6061], but at the unit level.
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08/21/2001
                                        Federal Upper Limit System
Product Group: 1067                            Package Size: 100
Strengths: 100MG                               Dosage: TABLET
Routes: ORAL                                   Exclusion Code:
Ingredients: METOPROLOL TARTRATE

Excl Direct                             SRCE                                                          MDRI
CD Price          AWP        WAC         CD        NDC Number        Company Name                     Date

      0.00000                0.03763*   Def      00093/0734/01       TEVA PHARMACEUTICALS USA, INC.
      0.00000                0.01159*   Def      00781/1228/01       GENEVA PHARMACEUTICALS, INC.,
      0.00000                0.05114*   Def      52544/0463/01       WATSON PHARMACEUTICALS
      0.00000                0.02971*   Def      00378/0047/01       MYLAN PHARMACEUTICALS, INC.
      0.00000     0.65400    0.00000    M        00904/7947/60       MAJOR PHARMACEUTICALS
      0.00000     0.65400    0.00000    M        00904/7773/60       MAJOR PHARMACEUTICALS
      0.00000     0.65400    0.06180     B       00904/7947/60       MAJOR PHARMACEUTICALS
      0.00000     0.65400    0.06180     R       00904/7947/60       MAJOR PHARMACEUTICALS
      0.00000     0.65400    0.18480     R       00904/7773/60       MAJOR PHARMACEUTICALS
      0.00000     0.65400    0.21110     B       00904/7773/60       MAJOR PHARMACEUTICALS
      0.00000     0.67410    0.00000     B       55370/0821/07       MOVA LABORATORIES INC.
      0.00000     0.67860    0.00000     B       00603/4628/21       QUALITEST PRODUCTS, INC.
      0.00000     0.67860    0.00000    M        00603/4628/21       QUALITEST PRODUCTS, INC.
      0.00000     0.67860    0.00000     R       00603/4628/21       QUALITEST PRODUCTS, INC.
      0.00000     0.69750    0.00000    M        00093/0734/01       TEVA PHARMACEUTICALS USA, INC.
      0.00000     0.69750    0.00000     R       00093/0734/01       TEVA PHARMACEUTICALS USA, INC.
      0.00000     0.73850    0.00000     B       64376/0503/01       BOCA PHARMACAL, INC.
      0.00000     0.73850    0.00000    M        57664/0167/08       CARACO PHARMACEUTICAL LABORATO
      0.00000     0.73850    0.00000    M        64376/0503/01       BOCA PHARMACAL, INC.
T     0.00000     0.73850    0.05690     B       57664/0167/08       CARACO PHARMACEUTICAL LABORATO
T     0.00000     0.73850    0.05690     R       57664/0167/08       CARACO PHARMACEUTICAL LABORATO
      0.00000     0.73990    0.00000    M        00781/1228/01       GENEVA PHARMACEUTICALS, INC.,
T     0.00000     0.73990    0.05440     R       00781/1228/01       GENEVA PHARMACEUTICALS, INC.,
      0.00000     0.76300    0.00000    M        00677/1483/01       UNITED RESEARCH LABORATORIES
T     0.00000     0.76300    0.00000    M        53489/0367/01       MUTUAL PHARMACEUTICAL COMPANY
T     0.00000     0.76300    0.06090     B       53489/0367/01       MUTUAL PHARMACEUTICAL COMPANY
T     0.00000     0.76300    0.06090     R       00677/1483/01       UNITED RESEARCH LABORATORIES
      0.00000     0.76300    0.06090     R       53489/0367/01       MUTUAL PHARMACEUTICAL COMPANY
      0.00000     0.76300    0.08600     B       00677/1483/01       UNITED RESEARCH LABORATORIES
      0.00000     0.80100    0.00000     B       52544/0463/01       WATSON PHARMACEUTICALS
      0.00000     0.80100    0.00000    M        00378/0047/01       MYLAN PHARMACEUTICALS, INC.
      0.00000     0.80100    0.00000    M        52544/0463/01       WATSON PHARMACEUTICALS
      0.00000     0.80100    0.00000     R       00378/0047/01       MYLAN PHARMACEUTICALS, INC.
      0.00000     0.80100    0.00000     R       52544/0463/01       WATSON PHARMACEUTICALS
T     0.00000     0.80100    0.07250     B       00378/0047/01       MYLAN PHARMACEUTICALS, INC.
      0.00000     0.94280    0.00000    M        00186/1092/05       ASTRA PHARMACEUTICALS L.P.
      0.00000     0.94280    0.78570     R       00186/1092/05       ASTRA PHARMACEUTICALS L.P.
      0.00000     0.94284    0.78570     B       00186/1092/05       ASTRA PHARMACEUTICALS L.P.
      0.00000     1.15260    0.00000    M        00028/0071/01       NOVARTIS PHARMACEUTICALS
      0.00000     1.15260    0.96050     B       00028/0071/01       NOVARTIS PHARMACEUTICALS
      0.00000     1.15260    0.96050     R       00028/0071/01       NOVARTIS PHARMACEUTICALS
T     0.06520     0.73990    0.05440     B       00781/1228/01       GENEVA PHARMACEUTICALS, INC.,
      0.10500     0.69750    0.09880     B       00093/0734/01       TEVA PHARMACEUTICALS USA, INC.
      0.55070     0.65400    0.00000    M        59772/3693/02       APOTHECON INC
      0.55070     0.65400    0.52320     B       59772/3693/02       APOTHECON INC
      0.55070     0.65400    0.52320     R       59772/3693/02       APOTHECON INC

FULs Price: .0174                              Prior FULs Price: .1290
Percent Difference: ‐36.74                     Source Code: Def
High Price: 1.15260                            Low Price: .01159
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* Indicates the price is an AMP supplied by defendants ("Def"), as presented in the Rule 26 Statement of Harris L. Devor,
 C.P.A., dated September 30, 2008, Exh. A to Devor's Dec. [Docket No. 6061].
   Case
Case    1:01-cv-12257-PBSDocument
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                              EXHIBIT D
   Case
Case    1:01-cv-12257-PBSDocument
     1:01-cv-12257-PBS    Document  6791-10 Filed
                                  6144-2     Filed06/15/2009
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   Case
Case    1:01-cv-12257-PBSDocument
     1:01-cv-12257-PBS    Document  6791-10 Filed
                                  6144-2     Filed06/15/2009
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                              EXHIBIT E
           Case
        Case    1:01-cv-12257-PBSDocument
             1:01-cv-12257-PBS    Document  6791-10 Filed
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07/24/2001
                                                 Federal Upper Limit System
Product Group: 250                         Package Size: 100
Strengths: 500MG                           Dosage: CAPSULE
Routes: ORAL                               Exclusion Code:
Ingredients: CEFADROXIL/CEFADROXIL HEMIHYDRATE

 Excl Direct                                      SRCE                                                                             MDRI
 CD Price             AWP            WAC           CD          NDC Number           Company Name                                   Date

       0.00000                       1.09508        H        00555/0582/02          BARR LABORATORIES INC
       0.00000                       0.96398        H        00172/4058/60          ZENITH LABORATORIES, INC
       0.00000        2.84650        0.00000        M        00904/7878/60          MAJOR PHARMACEUTICALS
       0.00000        2.84650        0.00000        M        00904/5450/60          MAJOR PHARMACEUTICALS
       0.00000        2.84650        0.84990        B        00904/7878/60          MAJOR PHARMACEUTICALS
       0.00000        2.84650        0.84990        B        00904/5450/60          MAJOR PHARMACEUTICALS
       0.00000        2.84650        2.29950        R        00904/5450/60          MAJOR PHARMACEUTICALS
       0.00000        3.19950        0.00000        M        00555/0582/02          BARR LABORATORIES INC
       0.00000        3.19950        0.00000        R        00555/0582/02          BARR LABORATORIES INC
       0.00000        3.19950        2.12330        B        00555/0582/02          BARR LABORATORIES INC
       0.00000        3.27950        0.00000        M        00172/4058/60          ZENITH LABORATORIES, INC
       0.00000        3.27950        0.00000        M        63304/0582/01          RANBAXY PHARMACEUTICALS, INC.
       0.00000        3.27950        1.95500        B        00172/4058/60          ZENITH LABORATORIES, INC
       0.00000        3.27950        1.95500        R        00172/4058/60          ZENITH LABORATORIES, INC
       0.00000        3.27950        2.12900        B        63304/0582/01          RANBAXY PHARMACEUTICALS, INC.
       0.00000        3.27950        2.12900        R        63304/0582/01          RANBAXY PHARMACEUTICALS, INC.
       2.56840        3.05000        0.00000        M        59772/7271/04          APOTHECON INC
       2.56840        3.05000        2.44000        B        59772/7271/04          APOTHECON INC
       2.56840        3.05000        2.44000        R        59772/7271/04          APOTHECON INC

FULs Price: 1.275                                         Prior FULs Price: .0000
Percent Difference: 0.00                                  Source Code: B
High Price: 3.27950                                       Low Price: .84990

***FULs Price not greater than another supplier***

*Source Code "H" indicates the WAC calculated by Harris L. Devor, C.P.A., in his Rule 26 Statement, dated September 30, 2008, Exh. A to Devor's Dec.
 [Docket No. 6061], but at the unit level.
   Case
Case    1:01-cv-12257-PBSDocument
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                             EXHIBIT F
           Case
        Case    1:01-cv-12257-PBSDocument
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07/24/2001
                                                   Federal Upper Limit System
Product Group: 250                          Package Size: 100
Strengths: 500MG                            Dosage: CAPSULE
Routes: ORAL                                Exclusion Code:
Ingredients: CEFADROXIL/CEFADROXIL HEMIHYDRATE

 Excl Direct                                         SRCE                                                                   MDRI
 CD Price             AWP           WAC               CD          NDC Number           Company Name                         Date

       0.00000                       0.367417*        Def       00555/0582/02          BARR LABORATORIES INC
       0.00000                       0.392086*        Def       00172/4058/60          ZENITH LABORATORIES, INC
       0.00000        2.84650        0.00000          M         00904/7878/60          MAJOR PHARMACEUTICALS
       0.00000        2.84650        0.00000          M         00904/5450/60          MAJOR PHARMACEUTICALS
       0.00000        2.84650        0.84990           B        00904/7878/60          MAJOR PHARMACEUTICALS
       0.00000        2.84650        0.84990           B        00904/5450/60          MAJOR PHARMACEUTICALS
       0.00000        2.84650        2.29950           R        00904/5450/60          MAJOR PHARMACEUTICALS
       0.00000        3.19950        0.00000          M         00555/0582/02          BARR LABORATORIES INC
       0.00000        3.19950        0.00000           R        00555/0582/02          BARR LABORATORIES INC
       0.00000        3.19950        2.12330           B        00555/0582/02          BARR LABORATORIES INC
       0.00000        3.27950        0.00000          M         00172/4058/60          ZENITH LABORATORIES, INC
       0.00000        3.27950        0.00000          M         63304/0582/01          RANBAXY PHARMACEUTICALS, INC.
       0.00000        3.27950        1.95500           B        00172/4058/60          ZENITH LABORATORIES, INC
       0.00000        3.27950        1.95500           R        00172/4058/60          ZENITH LABORATORIES, INC
       0.00000        3.27950        2.12900           B        63304/0582/01          RANBAXY PHARMACEUTICALS, INC.
       0.00000        3.27950        2.12900           R        63304/0582/01          RANBAXY PHARMACEUTICALS, INC.
       2.56840        3.05000        0.00000          M         59772/7271/04          APOTHECON INC
       2.56840        3.05000        2.44000           B        59772/7271/04          APOTHECON INC
       2.56840        3.05000        2.44000           R        59772/7271/04          APOTHECON INC

FULs Price: .5511                                            Prior FULs Price: .0000
Percent Difference: 0.00                                     Source Code: Def
High Price: 3.27950                                          Low Price: .367417

***FULs Price not greater than another supplier***

* Indicates the price is an AMP supplied by defendants ("Def"), as presented in the Rule 26 Statement of Harris L. Devor,
 C.P.A., dated September 30, 2008, Exh. A to Devor's Dec. [Docket No. 6061].
